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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              April 09, 2018
                                                                           David J. Bradley, Clerk

                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA                  '
                                          '
                                          '
      VS.                                 '     CRIMINAL NO. H-17-116-S
                                          '
STEPHEN E. STOCKMAN                       '


                             JURY INSTRUCTIONS

Members of the Jury:

      You have now heard the evidence in the case. It is my duty to instruct you

on the rules of law that you must follow and apply in arriving at your decision in

the case.

      In any jury trial there are, in effect, two judges. I am one of the judges; the

other is the jury. It is my duty to preside over the trial and to decide what

testimony and evidence is relevant under the law for your consideration. It is also

my duty at the end of the trial to explain to you the rules of law that you must

follow and apply in arriving at your verdict.

      First, I will give you some general instructions that apply in every case, for

example, instructions about the burden of proof and how to judge the believability

of witnesses. Then I will give you some specific instructions on the law that


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applies in this case.    I will then give you final instructions explaining the

procedures for you to follow in your deliberations.

                          GENERAL INSTRUCTIONS

      You, as jurors, are the judges of the facts. But in determining what actually

happenedCthat is, in reaching your decision as to the factsCit is your sworn duty to

follow all of the rules of law as I explain them to you. You have no right to

disregard, or give special attention to, any one instruction, or to question the

wisdom or correctness of any rule I may state to you. You must not substitute or

follow your own notion or opinion as to what the law is or ought to be. It is your

duty to apply the law as I explain it to you, regardless of the consequences. It is

also your duty to base your verdict solely on the evidence, without prejudice or

sympathy. That was the promise you made and the oath you took before being

accepted by the parties as jurors, and they have the right to expect nothing less.

      The indictment, or formal charge, against a defendant is not evidence of

guilt. Indeed, every defendant is presumed by the law to be innocent. Every

defendant begins with a clean slate. The law does not require a defendant to prove

his innocence or to produce any evidence at all, and no inference whatever may be

drawn from the defendant’s election not to testify.

      The government has the burden of proving the defendant guilty beyond a

reasonable doubt, and if it fails to do so, you must acquit the defendant. While the


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government=s burden of proof is a strict or heavy burden, it is not necessary that the

defendant’s guilt be proved beyond all possible doubt. It is only required that the

government’s proof exclude any “reasonable doubt” about the defendant’s guilt. A

“reasonable doubt” is a doubt based on reason and common sense after careful and

impartial consideration of all the evidence in the case. Proof beyond a reasonable

doubt, therefore, is proof of such a convincing character that you would be willing

to rely and act on it without hesitation in making the most important decisions on

your own affairs.

      As I told you earlier, it is your duty to determine the facts. To do so, you

must consider only the evidence presented during the trial. Evidence is the sworn

testimony of the witnesses, including stipulations, and the exhibits. The questions,

statements, objections, and arguments made by the lawyers are not evidence. The

function of the lawyers is to point out those things that are most helpful to their

side of the case, and in so doing to call your attention to certain facts or inferences

that might otherwise escape your notice. In the final analysis, it is your own

recollection and interpretation of the evidence that controls in this case. What the

lawyers say is not binding on you.

      During the trial, I sustained objections to certain questions and exhibits.

You must disregard those questions and exhibits entirely. Do not speculate as to

what the witness would have said if permitted to answer the question or as to the


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contents of an exhibit.   Do not consider any testimony or other evidence that was

removed from your consideration in reaching your decision. Your verdict must be

based solely on the legally admissible evidence and testimony.

      Also, do not assume from anything I did or said during the trial that I have

any opinion about any of the issues in this case. Except for my instructions to you

on the law, you should disregard anything I said during the trial in arriving at your

own verdict.

      In considering the evidence, you are permitted to draw such reasonable

inferences from the testimony and exhibits as you feel are justified in the light of

common experience.        In other words, you may make deductions and reach

conclusions that reason and common sense lead you to draw from the facts that

have been established by the evidence. Do not be concerned about whether the

evidence is “direct evidence” or “circumstantial evidence.” You should consider

and weigh all of the evidence that was presented to you. “Direct evidence” is the

testimony of one who asserts actual knowledge of a fact, such as an eyewitness.

“Circumstantial evidence” is proof of a chain of events and circumstances

indicating that something is or is not a fact. The law makes no distinction between

the weight you may give to either direct or circumstantial evidence. But the law

requires that you, after weighing all of the evidence, whether direct or




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circumstantial, be convinced of the guilt of the defendant beyond a reasonable

doubt before you can find him guilty.

      I remind you that it is your job to decide whether the government has proved

the guilt of the defendant beyond a reasonable doubt. In doing so, you must

consider all of the evidence. This does not mean, however, that you must accept

all of the evidence as true or accurate. You are the sole judges of the credibility or

“believability” of each witness and the weight to be given the witness’s testimony.

An important part of your job as jurors will be making judgments about the

testimony of the witnesses who testified in this case. You should decide whether

you believe all, some part, or none of what each person had to say and how

important that testimony was.

      In making that decision, I suggest that you ask yourself a few questions. Did

the witness impress you as honest? Did the witness have any particular reason not

to tell the truth? Did the witness have a personal interest in the outcome of the

case? Did the witness have any relationship with either the government or the

defense? Did the witness seem to have a good memory? Did the witness clearly

see or hear the things about which he testified?         Did the witness have the

opportunity and ability to understand the questions clearly and answer them

directly? Did the witness’s testimony differ from the testimony of other witnesses?

These are a few of the considerations that will help you determine the accuracy of


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what each witness said. When a defendant does not testify, you may not consider

that fact for any purpose in your deliberations.

      Your job is to think about the testimony of each witness you have heard and

decide how much you believe of what each witness had to say. In making up your

mind and reaching a verdict, do not make any decisions simply because there were

more witnesses on one side than on the other. Do not reach a conclusion on a

particular point just because there were more witnesses testifying for one side on

that point.   You must always bear in mind that the law never imposes on a

defendant in a criminal case the burden or duty of calling any witnesses or

producing any evidence.

      The testimony of a witness may be discredited by showing that the witness

testified falsely, or by evidence that at some other time, the witness said or did

something, or failed to say or do something, which is inconsistent with the

testimony the witness gave at this trial. Except for some prior statements of Mr.

Benjamin Wetmore, earlier statements of a witness were not admitted in evidence

to prove that the contents of those statements are true. You may not consider these

earlier statements to prove that the content of an earlier statement is true. Rather,

you may use these earlier statements only to determine whether they are consistent

or inconsistent with the witness’s trial testimony and therefore whether they affect

that witness’s credibility. If you believe that a witness has been discredited in this


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manner, it is your exclusive right to give that witness’s testimony whatever weight

you think it deserves.

      You heard testimony from Mr. Thomas Dodd and Mr. Jason Posey, alleged

accomplices, who pleaded guilty and entered into plea agreements with the

government, providing the possibility of a more favorable sentence. An alleged

accomplice, including one who has entered into a plea agreement with the

government, is not prohibited from testifying. On the contrary, the testimony of

such a witness may alone be of sufficient weight to sustain a verdict of guilty.

Such plea bargaining has been approved as lawful and proper, and is expressly

provided for in the rules of this court. The testimony of such a witness must be

examined and weighed by the jury with greater caution and care than the testimony

of ordinary witnesses. You may not convict the defendant on the unsupported

testimony of such a witness, unless you believe that testimony beyond a reasonable

doubt. The fact that an accomplice has entered a plea of guilty is not evidence of

the guilt of another person.

      You will note that the indictment charges that the offenses were committed

on or about a specified date. The government does not have to prove that a crime

was committed on the exact date, so long as the government proves beyond a

reasonable doubt that the defendant committed the crimes alleged in the indictment

reasonably near the dates stated in the indictment. Similarly, it does not matter if


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the indictment charges that certain transactions involved specific amounts of

money and the evidence shows that it was a different amount. The law requires

only a substantial similarity between the amounts alleged in the indictment and the

amounts established by the evidence.

      If Mr. Stockman is found guilty, it is my duty to decide what the punishment

will be. You may not be concerned with punishment in any way. It may not enter

your consideration or discussion.

      If you have taken notes, they should be used only as memory aids. You

should not give your notes precedence over your independent recollection of the

evidence. If you have not taken notes, you should rely on your own independent

recollection of the proceedings and you should not be unduly influenced by the

notes of other jurors.




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                SPECIFIC INSTRUCTIONS FOR THIS CASE

                 Instructions that Apply to More Than One Count

      A separate crime is charged in each count of the indictment. Each count, and

the evidence pertaining to it, should be considered separately. The fact that you

may find Mr. Stockman guilty or not guilty as to one of the counts charged should

not control your verdict as to others, unless you are otherwise instructed. Mr.

Stockman is not on trial for any act, conduct, or offense not alleged in the

indictment. You are not called on to decide the guilt of any person not on trial as a

defendant in this case, except as you are otherwise instructed.

      Certain charts and summaries were shown to you solely as an aid to help

explain the facts disclosed by the evidence—the testimony and exhibits—in the

case. These charts and summaries are not admitted into evidence and are not proof

of any facts. You should determine the facts from the evidence that is admitted.

      Other charts and summaries were received into evidence.              They are

government exhibits 47, 2010-1a through 2010-1k, 2012-1b through 2012-1d,

2012-2b through 2012-2e, 2012-3b through 2012-3e, 2012-4b through 2012-4g,

2012-4nn, 2013-1a through 2013-1d, 2013-3a, 2013-4a, 2013-8a, 2013-15w, 2014-

1b through 2014-1g, 2014-1v, 2014-1w, 2014-7b, 2014-7e and 2014-7f. You

should give these exhibits only such weight as you think they deserve, based on all

the evidence in the case.


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    Instructions on the Legal Definitions of Types of Nonprofit Organizations

      You have heard evidence regarding entities classified as nonprofit

organizations. The Internal Revenue Code permits certain nonprofit organizations

to be exempt from taxation. I will define those types of nonprofit organizations for

you now.

      A Section 501(c)(3) organization is a nonprofit corporation, fund, or

foundation organized and operated exclusively for religious, charitable, scientific,

or educational purposes. Section 501(c)(3) organizations are generally exempt

from federal taxation, and donations to these entities may be tax-deductible. If an

organization is classified as a Section 501(c)(3) organization, none of its net

earnings may benefit any private shareholder or individual. A Section 501(c)(3)

organization may not participate or intervene in any political campaign on behalf

of, or opposition to, any candidate for public office.

      A Section 501(c)(4) organization is a nonprofit organization operated

exclusively for the promotion of social welfare. Section 501(c)(4) organizations

are also generally exempt from federal taxation. A Section 501(c)(4) organization

may compensate employees for work actually performed, but the net earnings of a

Section 501(c)(4) organization must be devoted exclusively to charitable,

educational, or recreational purposes. The net earnings of a Section 501(c)(4)

organization may not benefit any private shareholder or individual.


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                     Definitions that Apply to Different Counts

      “Knowingly,” as used throughout these instructions, means that the act was

done voluntarily and intentionally, not because of mistake or accident.

      “Willfully,” as used in the instructions related to Counts 10, 11, and 12,

means that the act was committed voluntarily and purposely, with the specific

intent to do something the law forbids; that is, with bad purpose either to disobey

or disregard the law.

      A “scheme to defraud,” as used in Counts 1–8, means any plan, pattern, or

course of action intended to deprive another of money.

      A “specific intent to defraud,” as used in Counts 1–8 means a conscious,

knowing intent to deceive or cheat someone.

      As used in Counts 1–11 and 28, a representation, pretense, or promise is

“false” if it is known to be untrue or is made with reckless indifference as to its

truth or falsity. A representation, pretense, or promise would also be “false” if it

constitutes a half-truth, or effectively omits or conceals a material fact, provided it

is made with the intent to defraud. A representation, pretense, or promise is

“material” if it has a natural tendency to influence, or is capable of influencing, the

decision of the person or entity to which it is addressed.




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                       Instructions on Counts 1, 2, 3, and 4

      You are asked in Counts 1 through 4 to decide whether the government has

proved beyond a reasonable doubt that Mr. Stockman is guilty of the offense of

mail fraud.

      You are asked in Count 1 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of mail fraud,

for causing a $350,000 check from Foundation B to be delivered by mail on or

about January 24, 2013.

      You are asked in Count 2 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of mail fraud,

for causing a $15,000 check from Foundation A1 to be delivered by a private or

commercial interstate carrier on or about April 11, 2012.

      You are asked in Count 3 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of mail fraud,

for causing a letter from a direct-mail company to be delivered by a private or

commercial interstate carrier to Person B on or about February 17, 2014.

      You are asked in Count 4 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of mail fraud,

for causing a $450,571.65 check from Person B to be delivered by a private or

commercial interstate carrier on or about February 18, 2014.


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      Federal law makes it a crime for anyone to use the mails or any private or

commercial interstate carrier in carrying out a scheme to defraud.

      For you to find Mr. Stockman guilty of one or more of these counts, you

must be convinced that the government has proved each of the following elements

beyond a reasonable doubt as to that count:

      First: That Mr. Stockman knowingly devised or intended to devise a scheme

      to defraud, that is a scheme to obtain money from individuals or charitable

      foundations based on false pretenses, representations, or promises;

      Second: That the scheme to defraud employed false material representations,

      pretenses, or promises;

      Third: That Mr. Stockman caused something to be delivered through the

      United States Postal Service in Count 1, or through a private or commercial

      interstate carrier in Counts 2 through 4, for the purpose of executing such

      scheme or attempting so to do; and

      Fourth: That Mr. Stockman acted with a specific intent to defraud.

      A “scheme to defraud,” a “specific intent to defraud,” a “false

representation, pretense, or promise,” and a “material representation, pretense, or

promise,” have the meanings set out on page 11 of these instructions.

      It is not necessary that the government prove all of the details alleged in the

indictment concerning the precise nature and purpose of the scheme. What must be


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proved beyond a reasonable doubt is that Mr. Stockman knowingly devised or

intended to devise a scheme to defraud by means of false or fraudulent pretenses,

representations, or promises that was substantially the same as the one alleged in

the indictment.

      It is also not necessary that the government prove that the mailed material or

the material sent by private or commercial interstate carrier was itself false or

fraudulent, or that the use of the mail or a private or commercial interstate carrier

was intended as the specific or exclusive means of accomplishing the alleged

fraud. What must be proved beyond a reasonable doubt is that the use of the mails

or private or commercial interstate carrier was closely related to the scheme

because Mr. Stockman either mailed something, or caused it to be mailed, or either

sent or delivered something or caused it to be sent or delivered, by a private or

commercial interstate carrier, in an attempt to execute or carry out the scheme.

The alleged scheme need not actually have succeeded in defrauding anyone.

      To “cause” the mails or private or commercial interstate carrier to be used is

to do an act with knowledge that the use of the mails or private or commercial

interstate carrier will follow in the ordinary course of business or when such use

can reasonably be foreseen, even though the defendant did not intend or ask that

the mails or private or commercial interstate carrier be used.




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      Each separate use of the mails or a private or commercial interstate carrier in

furtherance of a scheme to defraud by means of false or fraudulent pretenses,

representations, or promises is a separate offense.




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                       Instructions on Counts 5, 6, 7, and 8

      You are asked in Counts 5 through 8 to decide whether the government has

proved beyond a reasonable doubt that Mr. Stockman is guilty of the offense of

wire fraud.

      You are asked in Count 5 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of wire fraud,

for sending an email to Person A’s assistant enclosing a letter to Person A and an

IRS letter to Life Without Limits, on or about March 28, 2012.

      You are asked in Count 6 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of wire fraud,

for sending an email to Mr. Thomas Dodd with the subject line “stan,” on or about

May 13, 2012.

      You are asked in Count 7 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of wire fraud,

for causing the wire transfer of $100,000 from Foundation A to the Steve

Stockman dba Life Without Limits account, on or about July 2, 2012.

      You are asked in Count 8 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of wire fraud,

for causing Mr. Jason Posey to send an email to Person B’s accountant attaching a

letter concerning the $350,000 donation, on or about May 13, 2014.


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      Federal law makes it a crime for anyone to use interstate wire

communications in carrying out a scheme to defraud.

      For you to find Mr. Stockman guilty of one or more of these counts, you

must be convinced that the government has proved each of the following elements

beyond a reasonable doubt as to that count:

      First: That Mr. Stockman knowingly devised or intended to devise any

      scheme to defraud, that is a scheme to obtain money from individuals or

      charitable foundations based on false representations, pretenses, or promises;

      Second: That the scheme to defraud employed false material representations,

      pretenses, or promises;

      Third: That Mr. Stockman transmitted or caused to be transmitted by way of

      wire communications, in interstate commerce, any writing, or signal for the

      purpose of executing such scheme; and

      Fourth: That Mr. Stockman acted with a specific intent to defraud.

      A “scheme to defraud,” “specific intent to defraud,” “false representation,

pretense, or promise,” and “material representation, pretense, or promise” have the

meanings set out on page 11 of these instructions.

      It is not necessary that the government prove all of the details alleged in the

indictment concerning the precise nature and purpose of the scheme. What must be

proved beyond a reasonable doubt is that the defendant knowingly devised or


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intended to devise a scheme to defraud by means of false or fraudulent pretenses,

representations, or promises that was substantially the same as the one alleged in

the indictment.

      It is also not necessary that the government prove that the material

transmitted by wire communications was itself false or fraudulent, or that the use

of the interstate wire communications facilities was intended as the specific or

exclusive means of accomplishing the alleged fraud. What must be proved beyond

a reasonable doubt is that the use of the interstate wire communications facilities

was closely related to the scheme because the defendant either wired something or

caused it to be wired in interstate commerce in an attempt to execute or carry out

the scheme. The alleged scheme need not actually succeed in defrauding anyone.

      To “cause” interstate wire communications facilities to be used is to do an

act with knowledge that the use of the wire communications facilities will follow

in the ordinary course of business or where such use can reasonably be foreseen.

      Each separate use of the interstate wire communications facilities in

furtherance of a scheme to defraud by means of false or fraudulent representations,

pretenses, or promises constitutes a separate offense.




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     Instructions on the Federal Election Law that Applies to Counts 9 through 12

      The Federal Election Campaign Act imposes reporting requirements and

financial limits on the election campaigns for candidates for federal office,

including the offices of member of the United States House of Representatives and

United States Senator. The Election Act is administered by the Federal Election

Commission, which is a department or agency within the Executive Branch of the

United States government.

      Reporting Requirements: Under the Election Act, campaign committees are

required to file periodic reports of receipts and disbursements with the Federal

Election Commission identifying, among other things, each person who made a

contribution to the committee during the reporting period whose contribution or

contributions had an aggregate amount or value of more than $200 within the

calendar year, together with the date and the amount of the contribution.

      Financial Limits: The Election Act limits the amount and sources of money

that may be contributed to a federal candidate or a federal candidate’s campaign

committee, as follows:

   1. In 2012, the Election Act limited campaign contributions to $2,500 from any

      one person to any one candidate or that candidate’s campaign committee in

      each election, primary, run-off, and general.




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   2. In 2014, the Election Act limited campaign contributions to $2,600 from any

      one person to any one candidate or that candidate’s campaign committee in

      each election, again, primary, run-off, and general.

   3. The Election Act prohibits a person from making a contribution in the name

      of another person, including by giving funds to a straw donor or conduit for

      the purpose of having the straw donor or conduit pass the funds on to a

      federal candidate or to that candidate’s campaign committee as his or her

      own contribution.

   4. The Election Act prohibits corporations from making contributions to a

      federal candidate or that candidate’s campaign committee.

The term “contribution” is defined under the Election Act as any gift, loan, or

deposit of money, or anything of value, made by any person for the purpose of

influencing any election for federal office. In addition, expenditures made by any

person in cooperation, consultation, or concert, with, or at the request or suggestion

of, a candidate, his authorized political committees, or their agents, are considered

to be a contribution to the candidate.




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                              Instructions on Count 9

      You are asked in Count 9 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of conspiracy

to make contributions to a candidate for federal office in the names of other

persons, or to knowingly and willfully make materially false, fictitious, or

fraudulent statements and representations in a matter within the jurisdiction of the

Federal Election Commission, a department or agency of the United States

government.

      Federal law makes it a crime for anyone to conspire with someone else to

commit an offense against the laws of the United States. A conspiracy is an

agreement between two or more persons to join together to accomplish some

unlawful purpose. It is a kind of partnership in crime, in which each member

becomes the agent of every other member.

      You have been instructed that your verdict, whether it is guilty or not guilty,

must be unanimous. The following instruction applies to the unanimity

requirement as to Count 9.

      The government does not have to prove all of the objects or purposes of the

alleged conspiracy for you to return a guilty verdict on this charge. Proof beyond a

reasonable doubt on one object or purpose is enough. But in order to return a

guilty verdict, all of you must agree that the same one has been proved. All of you


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must agree that the government proved beyond a reasonable doubt that Mr.

Stockman agreed with another person to cause contributions in the name of other

persons to be made to his campaign for a federal office. Or, all of you must agree

that the government proved beyond a reasonable doubt that Mr. Stockman agreed

with another person to make materially false, fictitious, or fraudulent statements or

representations in a matter within the jurisdiction of the Federal Election

Commission.

      For you to find Mr. Stockman guilty of this crime, you must be convinced

that the government has proved each of the following elements beyond a

reasonable doubt:

             First: that Mr. Stockman and at least one other person made an

             agreement to commit the crime of making contributions to a candidate

             for federal office in the names of other persons or to knowingly and

             willfully make materially false, fictitious, or fraudulent statements and

             representations in a matter within the jurisdiction of the Federal

             Election Commission, as charged in the indictment.

             Second: that Mr. Stockman knew the unlawful purpose of the

             agreement and joined in it willfully, that is, with the intent to further

             the unlawful purpose; and




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        Third: that one of the conspirators during the existence of the

        conspiracy knowingly committed at least one of the following acts

        described in the indictment, in order to accomplish some object or

        purpose of the conspiracy:

        a.    On or about February 10, 2013, Mr. Stockman caused the

              issuance of check # 1004 payable to Dodd & Associates in the

              amount of $12,000 from the “Steve Stockman dba Life Without

              Limits” account.

        b.    On or about February 10, 2013, Mr. Stockman caused the

              issuance of check # 1007 payable to Mr. Posey in the amount of

              $12,500 from the “Steve Stockman dba Life Without Limits”

              account

        c.    On or about February 11, 2013, Mr. Dodd deposited into Wells

              Fargo Bank account xxxx0475, check # 1004, drawn on the

              account “Steve Stockman dba Life Without Limits” payable to

              Dodd & Associates in the amount of $12,000.

        d.    On or about February 11, 2013, Mr. Posey deposited in Bank of

              America account xxxx0954, check # 1007 drawn on the account

              “Steve Stockman dba Life Without Limits” payable to Mr.

              Posey in the amount of $12,500.


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        e.    On or about February 11, 2013, Mr. Dodd issued three checks

              drawn on Wells Fargo Bank account xxxx4963 each in the

              amount of $2,500 and payable to Mr. Stockman’s principal

              campaign committee.

        f.    On or about February 11, 2013, Mr. Posey issued three checks

              drawn of Bank of America account xxxx0954, each in the

              amount of $2,500 payable to Mr. Stockman’s principal

              campaign committee.

        g.    On or about February 12, 2013, Mr. Dodd transferred $8,000

              from Wells Fargo Bank account xxxx0475 to Wells Fargo Bank

              account xxxx4963

        h.    On or about February 12, 2013, Mr. Stockman and Mr. Posey

              caused the deposit of $15,000 into Wells Fargo Bank account

              xxx3374, the account of his principal campaign committee,

              which deposit was comprised of the six checks written to his

              campaign by Mr. Dodd and Mr. Posey.

        i.    On or about March 27, 2013, Mr. Posey and Mr. Dodd

              exchanged emails with the Stockman campaign accountant

              about reporting their contributions in the names of their parents.




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            j.     On or about April 15, 2013, Mr. Stockman and Mr. Posey

                   caused the electronic submission of a Report of Receipts and

                   Disbursements for Mr. Stockman’s principal campaign

                   committee, which falsely reported the names of contributors.

            k.     On or about October 15, 2013, the Stockman campaign

                   accountant sent Mr. Stockman several emails containing drafts

                   of an explanatory note to be included in the campaign’s

                   amended Report of Receipts and Disbursements.

            l.     On or about October 16, 2013, Mr. Stockman and Mr. Posey

                   caused the electronic submission of an amended Report of

                   Receipts and Disbursements for Mr. Stockman’s principal

                   campaign committee, which falsely reported the names of

                   contributors.

            m.     On or about October 19, 2013, Mr. Stockman and Mr. Posey

                   caused the electronic submission of an amended Report of

                   Receipts and Disbursements for Mr. Stockman’s principal

                   campaign committee, which falsely reported the names of

                   contributors.

      To determine whether Mr. Stockman knowingly and intentionally conspired,

with at least one other person, to commit the offenses of making contributions to a

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candidate for federal office in the names of other persons, or making materially

false, fictitious, or fraudulent statements and representations in a matter within the

jurisdiction of the Federal Election Commission, you must consider the elements

of each of these crimes alleged to be an object of the conspiracy. The government

does not have to prove beyond a reasonable doubt that Mr. Stockman actually

committed these crimes. Instead, the government’s burden is to prove beyond a

reasonable doubt that Mr. Stockman committed the crime of conspiracy to cause

contributions in the names of other persons to be made to his campaign for federal

office, or the crime of making materially false, fictitious, or fraudulent statements

and representations in a matter within the jurisdiction of the Federal Election

Commission. I am instructing you on the elements of each of these crimes in

Count 9 only to assist you in determining whether the government has proved

beyond a reasonable doubt each of the elements of conspiracy to commit that

crime.

         The elements of causing contributions in the names of other persons to be

made to a candidate for federal office are:

         First: That Mr. Stockman caused the campaign contributions to be made;

         Second: That the person named as the contributor was not the true source of

         the money used for the contribution, and Mr. Stockman was aware of this;

         Third: That the contributions were made to Mr. Stockman’s campaign for


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      federal office or his campaign committee;

      Fourth: That Mr. Stockman acted knowingly and willfully; and

      Fifth: That the contributions equaled more than $10,000 in a single calendar

      year.

      The elements of making materially false, fictitious, or fraudulent statements

and representations in a matter within the jurisdiction of the Federal Election

Commission are:

      First: That Mr. Stockman willfully made or caused to be made a false

      statement to the Federal Election Commission regarding a matter within its

      jurisdiction;

      Second: That Mr. Stockman made or caused the statement intentionally,

      knowing that it was false;

      Third: That the statement was material; and

      Fourth: That Mr. Stockman made or caused the false statement for the

      purpose of misleading the Federal Election Commission.

      One may become a member of a conspiracy without knowing all the details

of the unlawful scheme or the identities of all the other alleged conspirators. If Mr.

Stockman understands the unlawful nature of a plan or scheme and knowingly and

intentionally joins in that plan or scheme on one occasion, that is sufficient to




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convict him for conspiracy even if he had not participated before and even if he

played only a minor part.

      The government need not prove that the alleged conspirators entered into

any formal agreement, nor that they directly stated between themselves all the

details of the scheme. Similarly, the government need not prove that all of the

details of the scheme alleged in the indictment were actually agreed on or carried

out. Nor must it prove that all of the persons alleged to have been members of the

conspiracy were such, or that the alleged conspirators actually succeeded in

accomplishing their unlawful objectives.

      Mere presence at the scene of an event, even with knowledge that a crime is

being committed, or the mere fact that certain persons may have associated with

each other and may have assembled together and discussed common aims and

interests, does not necessarily establish proof of the existence of a conspiracy. A

person who has no knowledge of a conspiracy, but who happens to act in a way

that advances some purpose of a conspiracy, does not thereby become a

conspirator.




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                             Instructions on Counts 10 and 11

      You are asked in Count 10 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman knowingly and willfully caused the

submission of a materially false, fictitious, or fraudulent statement or

representation in the October 16, 2013 amended report to the Federal Election

Commission.

       You are asked in Count 11 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman knowingly and willfully caused the

submission of a materially false, fictitious, or fraudulent statement or

representation in the October 19, 2013 amended report to the Federal Election

Commission.

      Federal law makes it a crime for anyone to knowingly and willfully make a

false or fraudulent statement in any matter within the jurisdiction of the executive,

legislative, or judicial branch of the government of the United States.

      For you to find Mr. Stockman guilty of either or both of these counts, you

must be convinced that the government has proved each of the following elements

beyond a reasonable doubt as to that count:

      First: That Mr. Stockman willfully made or caused to be made a false

      statement to the Federal Election Commission regarding a matter within its

      jurisdiction;


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      Second: That Mr. Stockman made or caused the statement intentionally,

      knowing that it was false;

      Third: That the statement was material; and

      Fourth: That Mr. Stockman made or caused the false statement for the

      purpose of misleading the Federal Election Commission.

      A statement is “material” if it has a natural tendency to influence, or is

capable of influencing, a decision of the Federal Election Commission. It is not

necessary to show that the Federal Election Commission was in fact misled.




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                               Instructions on Count 12

      You are asked in Count 12 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of causing to

be made campaign contributions in excess of the Election Act limit, an aggregated

amount of $25,000 or more in calendar year 2014, by causing coordinated

expenditure contributions by The Center for the American Future to Mr.

Stockman’s principle campaign committee, in the form of expenditures by The

Center for the American Future for specific advertising advocating for Mr.

Stockman’s election or attacking Mr. Stockman’s opponent.

      Federal law makes it a crime for anyone to knowingly and willfully make

excessive campaign contributions to a federal candidate or that candidate’s

campaign committee through coordinated expenditures.

      For you to find Mr. Stockman guilty of this count, you must be convinced

that the government has proved each of the following elements, beyond a

reasonable doubt:

      First: That Mr. Stockman, as a candidate for federal office, caused

      expenditures to be made by any individual, corporation, or organization, in

      cooperation, consultation, or concert with him, or at his request or

      suggestion.




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      Second: That the expenditures equaled $25,000 or more in a single calendar

      year; and

      Third: That Mr. Stockman acted knowingly and willfully.

      The term “expenditure” means any purchase, payment, distribution, loan,

deposit, or gift of money or anything of value, made by any individual,

corporation, or organization, for the purpose of influencing any election for federal

office.




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                           Instructions on Counts 14 through 26

      You are asked in Counts 14 through 26 to decide whether the government

has proved beyond a reasonable doubt that Mr. Stockman is guilty of the offense of

engaging in monetary transactions within the United States in money that: 1) was

worth more than $10,000; and 2) was derived from unlawful activity, specifically,

mail or wire fraud.

      Federal law makes it a crime for a person to knowingly engage in, or attempt

to engage in, a monetary transaction involving criminally derived property, in

excess of $10,000, that is derived from specified criminal activity.

      For you to find Mr. Stockman guilty of this crime, you must be convinced

that the government has proved each of the following elements beyond a

reasonable doubt:

      First: Mr. Stockman knowingly engaged or attempted to engage in a

      monetary transaction;

      Second: that the monetary transaction was of a value greater than $10,000;

      Third: that the monetary transaction involved criminally derived property;

      Fourth: that criminally derived property was derived from specified

      unlawful activity; namely, mail fraud or wire fraud in violation of federal

      law;

      Fifth: that Mr. Stockman knew that the monetary transaction involved


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       criminally derived property; and

       Sixth: that the monetary transaction took place within the United States.

       The term “criminally derived property” means any property constituting or

derived from, proceeds obtained from a criminal offense.

       The term “transaction” includes a purchase, gift, transfer, delivery, or other

disposition and, with respect to a financial institution, a deposit, withdrawal,

transfer between accounts, loan, or any other payment, transfer, or delivery by,

through, or to a financial institution, by whatever means effected.

       The government is not required to prove that Mr. Stockman knew that the

offense from which the “criminally derived property” was derived was “specified

unlawful activity,” as defined by the statute creating this offense. The government

must prove, however, that Mr. Stockman knew that the involved property was

obtained or derived from the commission of a crime.

       Violations of the mail fraud and wire fraud statutes are specified unlawful

activities.




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                              Instructions on Count 27

      You are asked in Count 27 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of money

laundering as to a specific financial transaction on or about March 24, 2014.

      Federal law makes it a crime for anyone to conduct or attempt to conduct a

financial transaction with the proceeds of specified unlawful activity, knowing that

the money involved represents the proceeds of some form of illegal activity and

knowing that the transaction is designed to conceal or disguise the nature, location,

source, ownership, or control of the proceeds of specified unlawful activity.

      For you to find Mr. Stockman guilty of this count, you must be convinced

that the government has proved each of the following beyond a reasonable doubt:

      First: That Mr. Stockman knowingly conducted a financial transaction;

      Second: That the financial transaction involved the proceeds of the specified

unlawful activity of mail fraud;

      Third: That Mr. Stockman knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity; and

      Fourth: That Mr. Stockman knew that the transaction was designed, in

whole or in part, to conceal or disguise the nature, location, source, ownership, or

control of the proceeds of the specified unlawful activity.

      With respect to the second element, the government must prove that, in fact,


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the money was the proceeds of mail fraud.

      With respect to the third element, the government must prove that Mr.

Stockman knew that the money involved in the transaction was the proceeds of

some kind of crime that is a felony under federal or state law, although it is not

necessary to show that he knew exactly what crime generated the funds. I instruct

you that mail fraud is a felony.

      The term “financial transaction” includes any “transaction,” as that term has

just been defined, which involves the use of a financial institution that is engaged

in, or the activities of which affect, interstate or foreign commerce, in any way or

degree.

      It is not necessary for the government to show that Mr. Stockman actually

intended or anticipated an effect on interstate commerce by his actions or that

commerce was actually affected. All that is necessary is that the natural and

probable consequence of the acts Mr. Stockman took would be to affect interstate

commerce. If you decide that there would be any effect at all on interstate

commerce, that is enough to satisfy this element. The effect can be minimal.

      The term “conduct” includes initiating or concluding, or participating in

initiating or concluding, a transaction.

      The term “proceeds” means any property derived from or obtained or

retained, directly or indirectly, through some form of unlawful activity, including


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the gross receipts of the activity.

      “Interstate commerce” means commerce or travel between one state of the

United States and another state. Commerce includes travel, trade, transportation,

and communication.

      The term “financial institution” includes an FDIC-insured bank or a

commercial bank.




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                             Instructions on Count 28

      You are asked in Count 28 to decide whether the government has proved

beyond a reasonable doubt that Mr. Stockman is guilty of the offense of filing a

false statement on his 2013 tax year income tax return. Federal law makes it a

crime for anyone willfully to make a false material statement on an income tax

return.

      For you to find Mr. Stockman guilty of this count, you must be convinced

that the government has proved each of the following beyond a reasonable doubt:

      First: That Mr. Stockman signed an income tax return that contained a

      written declaration that it was made under penalties of perjury;

      Second: That in this return, Mr. Stockman falsely stated on line 22 of his

      joint 2013 United States Individual Income Tax Return, IRS Form 1040, that

      his total income for 2013 was $269,105.00;

      Third: That Mr. Stockman knew that such statement was false;

      Fourth: That the false statement was material; and

      Fifth: That Mr. Stockman made the statement willfully, that is, with intent to

      violate a known legal duty.

      A statement is “material” if it has a natural tendency to influence, or is

capable of influencing, the Internal Revenue Service in investigating or auditing a

tax return or in verifying or monitoring the reporting of income by a taxpayer.


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                              Instruction on Aiding and Abetting

       The guilt of a defendant in a criminal case may be established without proof

that the defendant personally did every act constituting the offense alleged. The

law recognizes that, ordinarily, anything a person can do for himself may also be

accomplished by him through the direction of another person as his or her agent, or

by acting in concert with, or under the direction of, another person or persons in a

joint effort or enterprise.

       If another person is acting under the direction of a defendant or if the

defendant joins another person and performs acts with the intent to commit a

crime, then the law holds the defendant responsible for the acts and conduct of

such other persons just as though the defendant had committed the acts or engaged

in such conduct.

       Before a defendant may be held criminally responsible for the acts of others,

it is necessary that he deliberately associate himself in some way with the crime

and participate in it with the intent to bring about the crime.

       Of course, mere presence at the scene of a crime and knowledge that a crime

is being committed are not sufficient to establish that a defendant either directed or

aided and abetted the crime unless you find beyond a reasonable doubt that the

defendant was a participant and not merely a knowing spectator.

       In other words, you may not find a defendant guilty unless you find beyond


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a reasonable doubt that every element of the offense as defined in these

instructions was committed by some person or persons, and that the defendant

voluntarily participated in its commission with the intent to violate the law.

      For you to find Mr. Stockman guilty of this crime, you must be convinced

that the government has proved each of the following beyond a reasonable doubt:

      First: That the offenses of wire fraud, mail fraud, making false statements to

      the Federal Election Commission, making excessive campaign contributions,

      money laundering, and filing a false tax return were committed by some

      person;

      Second: That Mr. Stockman associated with the criminal venture;

      Third: That Mr. Stockman purposefully participated in the criminal venture;

      and

      Fourth: That Mr. Stockman sought by action to make that venture

      successful.

      “To participate in the criminal venture” means that Mr. Stockman engaged

in some affirmative conduct designed to aid the venture.




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             FINAL INSTRUCTIONS ON YOUR DELIBERATIONS

      To reach a verdict, whether it is guilty or not guilty, all of you must agree.

Your verdict must be unanimous on each count of the indictment.                  Your

deliberations will be secret. You will never have to explain your verdict to anyone.

      It is your duty to consult with one another and to deliberate in an effort to

reach agreement if you can do so. Each of you must decide the case for yourself,

but only after an impartial consideration of the evidence with your fellow jurors.

During your deliberations, do not hesitate to reexamine your own opinions and

change your mind if convinced that you were wrong. But do not give up your

honest beliefs as to the weight or effect of the evidence solely because of the

opinion of your fellow jurors, or for the mere purpose of returning a verdict.

      Remember at all times, you are judgesCjudges of the facts. Your duty is to

decide whether the government has proved the defendant guilty beyond a

reasonable doubt.

      When you go to the jury room, the first thing that you should do is select one

of your number as your foreperson, who will help to guide your deliberations and

will speak for you here in the courtroom.

      A verdict form has been prepared for your convenience. The foreperson will

write the unanimous answer of the jury in the space provided for each count of the

indictment, either guilty or not guilty. At the conclusion of your deliberations, the


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foreperson should date and sign the verdict form. The foreperson will retain

possession of the verdict form until the court asks for it.

      If you need to communicate with me during your deliberations, the

foreperson should write the message and give it to the court security officer. I will

either reply in writing or bring you back into the court to answer your message.

      Bear in mind that you are never to reveal to any person, not even to the

court, how the jury stands, numerically or otherwise, on any count of the

indictment, until after you have reached a unanimous verdict.


             SIGNED on April 9, 2018, at Houston, Texas.



                                      ______________________________________
                                                   Lee H. Rosenthal
                                            Chief United States District Judge




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